 8:13-cr-00106-JFB-RCC        Doc # 50    Filed: 05/07/13    Page 1 of 1 - Page ID # 195




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )               8:13CR106
                     Plaintiff,                )
                                               )
       vs.                                     )                 ORDER
                                               )
RUSSELL GLENN PIERCE,                          )
                                               )
                     Defendant.                )


       This matter is before the court on the oral motion of defendant Russell Glenn Pierce
(Pierce) for an extension of the pretrial motion deadline. The motion was made during the
arraignment on the Indictment on May 6, 2013. The government had no objection to the
motion. Pierce acknowledged the additional time needed for his motion would be excluded
under the calculations under the Speedy Trial Act. The oral motion was granted.


       IT IS ORDERED:
       1.     Pierce’s motion for an extension of time to file pretrial motions is granted.
Pierce shall have to on or before July 26, 2013, in which to file pretrial motions in
accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from May 6, 2013, and July 26, 2013, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 7th day of May, 2013.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
